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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
___________________________________
                                    )
UNITED STATES OF AMERICA            )
                                    )
      v.                            )  Criminal No. 1:17-cr-0046-RBW
                                    )
KASSIM TAJIDEEN,                    )
                                    )
                  Defendant.        )
___________________________________ )

                               ADDENDUM TO JUDGMENT

       In connection with the sentencing of defendant Kassim Tajideen, the Court makes the

following recommendations to the United States Bureau of Prisons:

       1. That defendant Tajideen be deemed eligible to serve his period of incarceration in a

minimum security facility; however, given all the facts and circumstances, including the apparent

unavailability of a minimum security facility for Mr. Tajideen, that Mr. Tajideen be designated

to serve his period of incarceration at FCI-Butner Low. The reasons for this recommendation are:

        a. During his pretrial detention Mr. Tajideen developed significant shoulder and arm

pain. After more than six months of pain Mr. Tajideen was recently diagnosed with a torn rotator

cuff and possible PVNS (pigmented villonodular synovitis). These conditions will require

sophisticated medical care that may be available at FCI Butner.

        b. Mr. Tajideen has a number of chronic heart problems including hypertension, high

cholesterol, and significant bradycardia with episodes of dizziness and occasional tachycardia.

Recently he has developed swelling in his ankles. These conditions may require sophisticated

cardiac monitoring and treatment.

        c. Mr. Tajideen has a substantial family history of colon cancer and would benefit from

regular colon screenings.
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       2. That defendant Tajideen be transferred as soon as practicable to the Kingdom of

Belgium to serve the balance of his sentence in a country of his citizenship, where he has friends

and where his family can visit him.

        SO RECOMMENDED this ____ day of _____________, 2019.




                                             The Honorable Reggie B. Walton
                                             United States District Judge




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